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Attorneys for Plaintiff/Counterclaim-Defendant
Jorns & Associates, LLC

                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF WYOMING

JORNS & ASSOCIATES LLC,                   )
                                          )
                  Plaintiff,              )
                                          )
v.                                        )                  Case No. 2:23-cv-247-KHR
                                          )
WCMS MEDIA LLC and JESS E. ROGERS, SR., )
                                          )
                  Defendants.             )
_________________________________________ )

                     JOINT MOTION TO STAY CASE FOR THIRTY DAYS

         Plaintiff Jorns & Associates LLC and Defendants WCMS Media LLC and Jess E. Rogers,

Sr. (jointly “the Parties”) hereby move the Court for a thirty (30) day stay of pending case

deadlines. On March 7, 2025, the Parties reached a settlement on all material terms via telephone

calls and emails. The Parties require some additional time to draft and execute a written settlement

agreement of all claims in this case. Accordingly, the Parties ask for a thirty (30) day stay of


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pending case deadlines while they complete this process. This is not done for any reason of delay

or excuse and should resolve all disputes in the case.

         WHEREFORE, the Parties jointly, respectfully move the Court for its order granting a

thirty (30) day stay in the case deadlines and for such other and further relief the Court deems

appropriate.

Dated: March 10, 2025.


  Respectfully submitted,

  By:/s/ Zane A. Gilmer                              By: /s/ Paula Fleck
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CORE/3524632.0011/197019142.1
